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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 14-3410
                                    ___________________

  Kristen Whitworth; Tomisha Lewis, Individually and on Behalf of Others Similarly Situated

                                            Plaintiffs - Appellees

                                                v.

 French Quarter Partners, LLC, Individually and doing business as French Quarter; Dale Kloss,
        also known as Duke Kloss, Individually and doing business as French Quarter

                                   Defendants - Appellants
______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Arkansas - Hot Springs
                                   (6:13-cv-06003-RTD)
______________________________________________________________________________

                                         JUDGMENT

       Appellants’ motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                      January 22, 2015




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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